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                                            Rtkpvgf!pcog!
                                             Burr & Forman LLP
                                            aaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaa!
                                            Hkto!pcog!
                                            420         20th Street North, Suite 3400
                                            aaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaa!
                                            Pwodgt!    Uvtggv!
                                             Birmingham
                                            aaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaa!  AL
                                                                                                  aaaaaaaaaaaa!  35203
                                                                                                                aaaaaaaaaaaaaaaaaaaaaaaaaaaaaa!
                                            Ekv{!                                                 Uvcvg!        \KR!Eqfg!!

                                             (205) 251-3000
                                            aaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaa!!                            dmeek@burr.com
                                                                                                            !aaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaa!
                                            Eqpvcev!rjqpg!!                                                 Gockn!cfftguu!



                                             ASB-7723-M74D                                          Alabama
                                            aaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaa!aaaaaaaaaaaa!
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!!!Qhhkekcn!Hqto!312!                       Xqnwpvct{!Rgvkvkqp!hqt!Pqp.Kpfkxkfwcnu!Hknkpi!hqt!Dcpmtwrve{!                              rcig!6!
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                                            SCHEDULE 1

                 Pending Bankruptcy Cases Filed by the Debtors in this Court

          On the date hereof, each of the affiliated entities listed below (collectively, the “Debtors”)
 filed a voluntary petition for relief under chapter 11 of the Bankruptcy Code, in the United States
 Bankruptcy Court for the Northern District of Alabama. Contemporaneously herewith, the Debtors
 are filing a motion requesting the joint administration of these chapter 11 cases for procedural
 purposes only under the case number assigned to Remington Outdoor Company, Inc.

            1. 32E Productions, LLC
            2. Barnes Bullets, LLC
            3. FGI Finance Inc.
            4. FGI Holding Company, LLC
            5. FGI Operating Company, LLC
            6. Great Outdoors Holdco, LLC
            7. Huntsville Holdings LLC
            8. Outdoor Services, LLC
            9. RA Brands, L.L.C
            10. Remington Arms Company, LLC
            11. Remington Arms Distribution Company, LLC
            12. Remington Outdoor Company, Inc.
            13. TMRI, Inc.




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                                       JOINT
                           UNANIMOUS WRITTEN CONSENT OF
                             THE BOARD OF MANAGERS OF

                          FGI HOLDING COMPANY, LLC
                         FGI OPERATING COMPANY, LLC
                       REMINGTON ARMS COMPANY, LLC
                             BARNES BULLETS, LLC
                           OUTDOOR SERVICES, LLC
                                RA BRANDS, L.L.C.
                             32E PRODUCTIONS, LLC
                        GREAT OUTDOORS HOLDCO, LLC
                          HUNTSVILLE HOLDINGS LLC
                  REMINGTON ARMS DISTRIBUTION COMPANY, LLC

                                           July 26, 2020



          The undersigned, being the members of the boards of managers (the board of managers
 for each Company being referred to as the “Board”) of each of FGI Holding Company, LLC, a
 Delaware limited liability company, FGI Operating Company, LLC, a Delaware limited liability
 company, Remington Arms Company, LLC, a Delaware limited liability company, Barnes Bullets,
 LLC, a Delaware limited liability company, Outdoor Services, LLC, a Delaware limited liability
 company, RA Brands L.L.C., a Delaware limited liability company, 32E Productions, LLC, a
 Delaware limited liability company, Great Outdoors Holdco, LLC, a Delaware limited liability
 company, Huntsville Holdings LLC, a New York limited liability company, and Remington Arms
 Distribution Company, LLC, a Delaware limited liability company (each a “Company” and
 collectively, the “Companies”), acting pursuant to the authority of Section 18-404(d) of the
 Delaware Limited Liability Company Act or Section 408 of the New York Limited Liability
 Company Act, as applicable, and the applicable Amended and Restated Limited Liability
 Company Agreement, dated as of May 15, 2018, of each Company, hereby consent to, adopt and
 approve the following resolutions (these “Resolutions”) and each and every action effected
 thereby:

          WHEREAS, the Board of each Company has reviewed the performance and results of the
 respective Company, the market in which the respective Company operates, and the respective
 Company’s current and future liquidity needs, business prospects, and current and long-term
 liabilities;

         WHEREAS, the Board of each Company has reviewed the materials presented by its
 respective financial, legal, and other advisors and have engaged in numerous and extensive
 discussions (including, without limitation, with its management and such advisors) regarding, and
 has had the opportunity to fully consider, the respective Company’s financial condition, including
 the respective Company’s liabilities and liquidity position, the strategic alternatives available to
 the respective Company, and the impact of the foregoing on the respective Company’s businesses
 and operations;




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        WHEREAS, the Board of each Company, in consultation with the respective Company’s
 financial, legal, and other advisors, determined that it was in the best interests of the respective
 Company to explore a potential sale of its various business units to one or more potential bidders
 (the “Sale Transaction”); and

        WHEREAS, on July 26, 2020, the Board of each Company has determined that it is
 desirable and in the best interests of the respective Company and such Company’s creditors, equity
 holders, employees, and other parties in interest that such Company file or cause to be filed a
 voluntary petition seeking relief under the provisions of chapter 11 of title 11 of the United States
 Code, 11 U.S.C. §§ 101-1532 et seq. (the “Bankruptcy Code”).

 I.     Chapter 11 Case

         NOW, THEREFORE, BE IT RESOLVED, that in the judgment of the Board of each
 Company, it is desirable and in the best interests of the respective Company, such Company’s
 respective creditors, and other parties in interest, that such Company shall be and hereby is
 authorized to file or cause to be filed a voluntary petition for relief under the provisions of chapter
 11 of the Bankruptcy Code in the United States Bankruptcy Court for the Northern District of
 Alabama (the “Bankruptcy Court”) or other court of competent jurisdiction.

         RESOLVED FURTHER, that any one or more officers of each respective Company (each
 an “Authorized Person” and collectively, the “Authorized Persons”) are authorized, empowered,
 and directed, in the name and on behalf of the respective Company, to execute and verify all
 petitions under chapter 11 of the Bankruptcy Code and to cause the same to be filed in the
 Bankruptcy Court and to commence any ancillary or related proceedings as may be necessary or
 appropriate to effectuate the restructuring of the respective Company and to execute, verify, and
 cause to be filed all documents in furtherance thereof, at such time as such Authorized Person
 executing the same shall determine.

         RESOLVED FURTHER, that each Authorized Person is authorized, empowered, and
 directed, in the name and on behalf of the respective Company, to negotiate, enter into, execute,
 deliver, certify, file, record, and perform, or cause to be negotiated, entered into, executed,
 delivered, certified, filed, recorded, and performed, any and all petitions, schedules, lists, motions,
 certifications, agreements, instruments, affidavits, acknowledgments, applications, including,
 without limitation, applications for approvals or rulings of governmental or regulatory authorities,
 pleadings, or other documents and to take, or cause to be taken, such other actions, as in the
 judgment of such Authorized Person shall be or become necessary, advisable, proper, or desirable
 in connection with the respective Company’s chapter 11 case, such Authorized Person’s
 performance of any such act and his or her execution and delivery of any such document,
 agreement, or instrument to be conclusive evidence of the Authorized Person’s approval thereof.

 II.    Cash Collateral

         RESOLVED FURTHER, that each respective Company, as a debtor and debtor in
 possession under the Bankruptcy Code, be authorized, empowered, and directed to negotiate and
 obtain the use of cash collateral or other similar arrangements, including, without limitation, to
 enter into any guarantees and to pledge and grant liens on and claims against its respective assets


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 as may be contemplated by or required under the terms of cash collateral agreements or other
 similar arrangements, in such amounts as is reasonably necessary for the continuing conduct of
 the affairs of such Company in its chapter 11 case and any of such Company’s affiliates who may
 also, concurrently with such Company’s petition, file for relief under the Bankruptcy Code.

 III.   Sale Process and Bidding Procedures

         RESOLVED FURTHER, that in the judgment of the Board of each Company, it is
 desirable and in the best interests of each respective Company, its creditors, and other parties in
 interest, and each respective Company be and it hereby is authorized to (i) file the motion
 (the “Sale Motion”) with the Bankruptcy Court to request, among other things, the Bankruptcy
 Court’s approval of (a) the Sale Transaction, (b) the commencement of a marketing and sale
 process in the chapter 11 case for the Sale Transaction (the “Sale Process”), and (c) the bidding
 procedures associated with the Sale Process, which are attached to the Sale Motion (such bidding
 procedures, in the form approved by the Bankruptcy Court, the “Bidding Procedures”) and
 (ii) commence and implement the Sale Process.

         RESOLVED FURTHER, that the Authorized Persons, and any employees or agents
 (including counsel) designated by or directed by any such officers, be, and each of them hereby is,
 authorized, empowered, and directed, in the name and on behalf of each respective Company, to
 take any and all other actions as they may deem necessary or advisable to (i) file the Sale
 Motion with the Bankruptcy Court, (ii) commence and implement the Sale Process as
 contemplated in the Bidding Procedures, (iii) grant access to due diligence materials and other
 confidential information regarding the assets of the Company and the applicable subsidiaries to
 participants in the Sale Process in accordance with the Bidding Procedures, and (iv) in connection
 with the access mentioned above, negotiate and execute non-disclosure agreements between each
 respective Company, its subsidiaries, and the participants in the Sale Process protecting the
 confidentiality of certain due diligence materials and other confidential information.

         RESOLVED FURTHER, that the Authorized Persons, and any employees or agents
 (including counsel) designated by or directed by any such officers be, and each of them hereby is,
 authorized, empowered and directed, in the name of and on behalf of each respective Company,
 to take any and all other actions as they may deem necessary or advisable to, in each respective
 Company’s capacity as stockholder, shareholder, trustee, equity holder, managing member, sole
 member, general partner, limited partner, or member of any of its subsidiaries and/or other entities
 that are debtors in the chapter 11 cases and that will take part in the Sale Process, to cause such
 subsidiaries and/or other entities to execute, to deliver and to perform any of the actions
 contemplated with respect to the Sale Process, the Bidding Procedures, and these resolutions or
 the transactions contemplated hereby.

 IV.    Retention of Advisors

        RESOLVED FURTHER, that the Authorized Persons be, and each of them hereby is,
 authorized, empowered, and directed, in the name of and on behalf of each respective
 Company, to employ the law firm of O’Melveny & Myers LLP as general bankruptcy counsel
 to represent and advise each respective Company in carrying out its duties under the
 Bankruptcy Code, and to take any and all actions to advance its rights and obligations,


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 including filing any pleadings in connection with the chapter 11 case and with any post-petition
 financing; and in connection therewith, the Authorized Persons are hereby authorized,
 empowered, and directed to execute appropriate retention agreements, pay appropriate
 retainers prior to and immediately upon filing of the chapter 11 case, and cause to be executed
 and filed an appropriate application with the bankruptcy court for authority to retain the
 services of O’Melveny & Myers LLP.

         RESOLVED FURTHER, that the Authorized Persons be, and each of them hereby is,
 authorized, empowered, and directed, in the name of and on behalf of each respective
 Company, to employ the firm of Burr & Forman LLP as local counsel to represent and advise
 each respective Company in carrying out its duties under the Bankruptcy Code, and to take
 any and all actions to advance its rights and obligations in connection with the chapter 11 case
 and with any post-petition financing; and in connection therewith, the Authorized Persons are
 hereby authorized, empowered, and directed to execute appropriate retention agreements, pay
 appropriate retainers prior to and immediately upon the filing of the chapter 11 case, and cause
 to be executed and filed an appropriate application with the bankruptcy court for authority to
 retain the services of Burr & Forman LLP.

         RESOLVED FURTHER, that that the Authorized Persons be, and each of them hereby
 is, authorized, empowered, and directed, in the name of and on behalf of each respective
 Company, to employ the firm of M-III Advisory Partners, LP as financial advisor to represent
 and assist each respective Company in carrying out its duties under the Bankruptcy Code, and
 to take any and all actions to advance its rights and obligations in connection with the chapter
 11 case and with any post-petition financing; and in connection therewith, the Authorized
 Persons are hereby authorized, empowered, and directed to execute appropriate retention
 agreements, pay appropriate retainers prior to and immediately upon the filing of the chapter
 11 case, and cause to be executed and filed an appropriate application with the bankruptcy
 court for authority to retain the services of M-III Advisory Partners, LP.

         RESOLVED FURTHER, that that the Authorized Persons be, and each of them hereby
 is, authorized, empowered, and directed, in the name of and on behalf of each respective
 Company, to employ the firm of Ducera Partners LLC and, where appropriate, its affiliates
 including Ducera Securities LLC (“Ducera”) as investment banker to represent and assist each
 respective Company in carrying out its duties under the Bankruptcy Code, and to take any and
 all actions to advance its rights and obligations in connection with the chapter 11 case and
 with any post-petition financing; and in connection therewith, the Authorized Persons are
 hereby authorized, empowered, and directed to execute appropriate retention agreements, pay
 appropriate retainers prior to and immediately upon the filing of the chapter 11 case, and cause
 to be executed and filed an appropriate application with the bankruptcy court for authority to
 retain the services of Ducera.

         RESOLVED FURTHER, that the Authorized Persons be, and each of them hereby is,
 authorized, empowered, and directed, in the name of and on behalf of each respective
 Company, to employ the firm of Prime Clerk LLC as notice, claims, and balloting agent to
 assist each respective Company in carrying out its duties under the Bankruptcy Code; and in
 connection therewith, the Authorized Persons are hereby authorized, empowered, and directed
 to execute appropriate retention agreements, pay appropriate retainers prior to and


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 immediately upon the filing of the chapter 11 case, and cause to be executed and filed an
 appropriate application with the bankruptcy court for authority to retain the services of Prime
 Clerk LLC.

         RESOLVED FURTHER, that the Authorized Persons be, and each of them hereby is,
 authorized, empowered, and directed, in the name of and on behalf of each respective Company,
 to employ any other professionals, including attorneys, accountants, financial advisors, investment
 bankers, and tax advisors, necessary to assist each respective Company in carrying out its duties
 under the Bankruptcy Code; and in connection therewith, the Authorized Persons are hereby
 authorized, empowered, and directed to execute appropriate retention agreements, pay appropriate
 retainers prior to or immediately upon the filing of the chapter 11 case, and cause to be executed
 and filed appropriate applications with the bankruptcy court for authority to retain the services of
 any other professionals, as necessary.

 V.     Other Authorizations and Ratification

         RESOLVED FURTHER, that the Authorized Persons, and any employees or agents
 (including counsel) designated by or directed by any such officers be, and each of them hereby is,
 authorized, empowered and directed, in the name of and on behalf of the respective Company, to
 take any and all other actions as they may deem necessary or advisable to, in such Company’s
 capacity as stockholder, shareholder, trustee, equity holder, managing member, sole member,
 general partner, limited partner or member of any of its subsidiaries and/or other entities that are
 debtors in the chapter 11 cases, to cause such subsidiaries and/or other entities to execute, deliver,
 and perform any of the actions contemplated with respect to the chapter 11 cases and these
 resolutions or the transactions contemplated hereby.

        RESOLVED FURTHER, that the Authorized Persons be, and each of them hereby is,
 authorized, empowered, and directed, in the name and on behalf of the respective Company,
 to cause the respective Company to enter into, execute, deliver, certify, file, and/or record and
 perform such agreements, instruments, motions, affidavits, applications for approvals or ruling
 of governmental or regulatory authorities, certificates or other documents, and to take such
 other action, as in the judgment of such officer shall be or become necessary, proper, or
 desirable to prosecute to a successful completion of the chapter 11 case, including
 implementing the foregoing Resolutions and the transactions contemplated by these
 Resolutions.

         RESOLVED FURTHER, that the Authorized Persons be, and each of them hereby is,
 authorized, empowered, and directed, in the name and on behalf of the respective Company,
 to amend, supplement, or otherwise modify from time to time the terms of any documents,
 certificates, instruments, agreements, or other writings referred to in the foregoing Resolutions.

        RESOLVED FURTHER, that the omission from these Resolutions of any agreement,
 document, or other arrangement contemplated by any of the agreements, documents, or
 instruments described in the foregoing Resolutions or any action to be taken in accordance with
 any requirement of any of the agreements, documents, or instruments described in the foregoing
 Resolutions shall in no manner derogate from the authority of the Authorized Persons to take all



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 actions necessary, desirable, advisable, or appropriate to consummate, effectuate, carry out, or
 further the transactions contemplated by, and the intent and purposes of, the foregoing Resolutions.

         RESOLVED FURTHER, that all lawful acts, actions, and transactions relating to the
 matters contemplated by the foregoing Resolutions done by any Authorized Person or any
 manager, employee, legal counsel, or other representative of or advisor to the respective Company,
 in the name and on behalf of the respective Company, which acts would have been approved
 by the foregoing Resolutions except that such acts were taken before these Resolutions were
 certified, are hereby in all respects approved and ratified.

          RESOLVED FURTHER, that in connection with the transactions contemplated by the
 foregoing Resolutions, the Secretary and any Assistant Secretary of each Company be, and each
 of them individually hereby is, authorized in the name and on behalf of the respective Company,
 to certify any more formal or detailed resolutions as such Authorized Person may deem necessary,
 appropriate, or desirable to effectuate the intent of the foregoing Resolutions; and that thereupon
 such resolutions shall be deemed adopted as and for the resolutions of each Board as if set forth at
 length herein.

                                      [Signature page follows]




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         IN WITNESS WHEREOF, the undersigned members of the Board of each of the
 Companies have hereunto signed their names and adopted the above Resolutions as of the date of
 the last signature below and hereby direct that a signed copy of this Unanimous Written Consent
 be filed with the Minutes of the proceedings of the Board for each of the Companies.

       This Unanimous Written Consent may be executed in counterparts, each of which shall be
 deemed an original, but all of which taken together shall constitute but one and the same
 Unanimous Written Consent.


 July 26, 2020



 July 26, 2020
                                                      Mark Little




                                    FGI Holding Company, LLC
                                   FGI Operating Company, LLC
                                  Remington Arms Company, LLC
                                        Barnes Bullets, LLC
                                       Outdoor Services, LLC
                                        RA Brands, L.L.C.
                                       32E Productions, LLC
                                    Great Outdoors Holdco, LLC
                                     Huntsville Holdings LLC
                             Remington Arms Distribution Company, LLC
                           Unanimous Written Consent of Board of Managers




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                                                       United States Bankruptcy Court
                                                             Northern District of Alabama
In re         Remington Arms Company, LLC                                                                 Case No.
                                                                            Debtor(s)                     Chapter       11

                         DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
19. Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that compensation
    paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on
    behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

               For legal services, I have agreed to accept                                            $                                    Hourly Rates

               Prior to the filing of this statement I have received                                  $                            Please refer to the
                                                                                                                                 Retention Application

               Balance Due                                                                            $                                             0.00

20. The source of the compensation paid to me was:
               Debtor             Other (specify):         Affiliated Debtor.

21. The source of compensation to be paid to me is:
               Debtor             Other (specify):         Affiliated Debtor.

22.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.
         I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
              copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

23. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
        m.    Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
        n.    Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
        o.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
        p.    [Other provisions as needed]
                  As set forth in the Debtors’ Application for Interim and Final Orders Authorizing Retention and Employment of
                  Burr & Forman LLP as Counsel for Debtors and Debtors In Possession (the “Retention Application”), filed
                  concurrently herewith.

24. By agreement with the debtor(s), the above-disclosed fee does not include the following service:
             As set forth in the Retention Application.

                                                                       CERTIFICATION
           I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the
 debtor(s) in this bankruptcy proceeding.
 July 27, 2020                                                                    /s/ Derek F. Meek
 Date                                                                             Derek F. Meek
                                                                                  Signature of Attorney
                                                                                  Burr & Forman LLP
                                                                                  420 North 20th Street, Suite 3400
                                                                                  Birmingham, AL 35203
                                                                                  (205) 251-3000 Fax: (205) 458-5100
                                                                                  dmeek@burr.com
                                                                                  Name of law firm




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                                                       United States Bankruptcy Court
                                                             Northern District of Alabama
In re         Remington Arms Company, LLC                                                                  Case No.
                                                                            Debtor(s)                      Chapter       11

                         DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
19. Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that compensation
    paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on
    behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

               For legal services, I have agreed to accept                                             $                                    Hourly Rates

               Prior to the filing of this statement I have received                                   $                             Please refer to the
                                                                                                                                   Retention Application

               Balance Due                                                                             $                                              0.00

20. The source of the compensation paid to me was:
               Debtor             Other (specify):         Affiliated Debtor.

21. The source of compensation to be paid to me is:
               Debtor             Other (specify):         Affiliated Debtor.

22.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.
         I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
              copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

23. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
        m.    Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
        n.    Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
        o.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
        p.    [Other provisions as needed]
                  As set forth in the Debtor’ Application for Entry of Interim and Final Orders Authorizing the Employment and
                  Retention of O’Melveny & Myers LLP as Attorneys for the Debtors (the “Retention Application”), filed
                  concurrently herewith.

24. By agreement with the debtor(s), the above-disclosed fee does not include the following service:
             As set forth in the Retention Application.

                                                                       CERTIFICATION
           I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the
 debtor(s) in this bankruptcy proceeding.
 July 27, 2020                                                                    /s/ Stephen H. Warren
 Date                                                                             Stephen H. Warren
                                                                                  Signature of Attorney
                                                                                  O’Melveny & Myers LLP
                                                                                  400 S. Hope Street
                                                                                  Los Angeles, CA 90071
                                                                                  (213) 430-6000 Fax: (213) 430-6407
                                                                                  swarren@omm.com
                                                                                  Name of law firm




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                      UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF ALABAMA
                              NORTHERN DIVISION


 In re:                                              Chapter 11

 REMINGTON ARMS COMPANY, LLC,                        Case No. 20-___________(      )

                          Debtor.


                         LIST OF EQUITY SECURITY HOLDERS

         Pursuant to Bankruptcy Rule 1007(a)(3), the following is a list of entities holding an
 interest in the above-captioned debtor.

    Name of Equity Security          Mailing Address of Equity       Nature and Amount of
             Holder                       Security Holder                Interest Held
 FGI Operating Company, LLC      100 Electronics Boulevard SW       Membership Interest - 100%
                                 Huntsville, AL 35824




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Fill in this information to identify the case and this filing:

Debtor Name Remington Arms Company, LLC

United States Bankruptcy Court for the Northern District of Alabama

Case number (if known): _________



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                             12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign
and submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not
included in the document, and any amendments of those documents. This form must state the individual's position or
relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years,
or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


             Declaration and signature

         I am the president, another officer. or an authorized agent of the corporation; a member or an authorized
         agent of the partnership, or another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the
         information is true and correct:

         □        Schedule A/8: Assets-Real and Personal Property (Official Form 206A/B)

         □        Schedule D: Creditors Who Have Claims Secured by Property (Official Form 2060)

         □        Schedule EIF: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         □        Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         □        Schedule H: Codebtors (Official Form 206H)

         □        Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

         □        Amended Schedule

         □        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
                  Are Not Insiders (Official Form 204)

                  Other document that requires a declaration List of Equity Security Holders




         Executed on        07/27/2020
                           MM/ODNYYY

                                                                        Ken D'Arcy
                                                                        Printed name

                                                                        Chief Executive Officer
                                                                        Position or relationship to debtor




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